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Subject:                             New EDSS Filing Submitted



A new EDSS Filing has been submitted. The filing was submitted on Sunday, March 9, 2025 - 22:14 from IP Address
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Submitted values are:


Filer's Full Name: HIran Rodriguez



Filer's Email Address: hiranrodriguez@outlool<.com



Filer's Mailing Address (Street, Apt/Suit No., City, State, Zip): 820 Grove Ave, Metairie, LA, 70003-7024.


Fiier's Phone Number: 504-203-8459



Case Number (if known!: 2:25-cv-00197-JCZ-DPC



Case Name: Rodriguez y. Meta Platforms, Inc., et al


Document 1 Descriptor: Notice of Submission

Document 2 Description: Opposition to Meta's Motion for Extension

Document 3 Description: Motion to Strike Jefferson Parish's Motion to Dismiss

Document 4 Description Motion for Judicial Notice of Delaying Tactics and Bad Faith

Document 5 Description' Motion for Sanctions: Punishing Frivolous Filings


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